                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  TOLEDO DIVISION

 In Re:                                           Case No. 17-31770-jpg

 Roger Allen Stief
                                                  Chapter 13
 Marie Daphane Stief

 Debtor.                                          Judge John P. Gustafson

                                 NOTICE OF APPEARANCE

       Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.
Bankruptcy Court, Northern District of Ohio, and enters an appearance on behalf of U.S. Bank
Trust National Association, as Trustee of the FW Series I Trust (‘Creditor’), in the above
captioned proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor

                                CERTIFICATE OF SERVICE

I certify that on August 15, 2022, a true and correct copy of this Notice was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          Patti Baumgartner-Novak, Debtors’ Counsel
          pmbn@buckeye-express.com

          Elizabeth A. Vaughan, Trustee
          13ecfnotices@chapter13toledo.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov




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And by regular U.S. Mail, postage pre-paid on:

       Roger Allen Stief, Debtor
       Marie Daphane Stief, Debtor
       177 W. Brown Ave.
       Carey, OH 43316
                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (0083702)
                                                 Attorney for Creditor




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